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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

In re:                              )                      Chapter 11
                                    )
                  1
USA GYMNASTICS ,                    )                      Case No. 18-09108-RLM-11
                                    )
                   Debtor.          )
___________________________________ )


             LIMITED OBJECTION OF INDIANA ATTORNEY GENERAL
         CURTIS T. HILL TO DEBTOR’S MOTION FOR ODER ESTABLISHING
           DEADLINES FOR FILING PROOFS OF CLAIM AND APPROVING
                    FORM AND MANNER OF NOTICE THEREOF

         Curtis T. Hill, Jr., Attorney General of Indiana, objects to the Debtor’s Motion for Order

Establishing Deadlines for Filing Proofs of Claim and Approving Form and Manner of Notice

Thereof (the “Bar Date Motion”) [Dkt. 230] on a limited basis and states in support of his

objection:

                                            INTRODUCTION

         1.      Curtis T. Hill, Jr., the Attorney General of the State of Indiana, (the “Attorney

General”) is charged with protecting the public interest in charitable and benevolent

instrumentalities and to ensure the integrity of nonprofit entities operating within the State of

Indiana. Ind. Code §§ 23-17-24-1 and 23-17-24-1.5. Zoeller v. East Chicago Second Century,

904 N.E.2d 213 (Ind. 2009).

         2.      USA Gymnastics (“USAG”) is a nonprofit corporation with a principal office

located in Indianapolis, Indiana.

         3.      USAG filed a voluntary petition for relief under Chapter 11 of the United States

Bankruptcy Code, 11 U.S.C. §§ 101 et. seq. (the “Code”) on December 5, 2018 (the “Petition

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  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Date”). USAG continues to operate its business as a debtor-in-possession pursuant to Sections

1107 and 1108 of the Code.

                                         BACKGROUND

       4.      Over the past several years, USAG has become the subject of one of the most

horrific and extensive scandals in sports history.

       5.      In the summer of 2016, The Indianapolis Star published a series of articles which

focused on sexual abuse in women’s gymnastics and the myriad cases of alleged abuse. Many of

the abuses were perpetrated by Larry Nassar, a former doctor who treated many of the USAG

athletes as well as other athletes in other locations and disciplines.

       6.      USAG commissioned a report by Indianapolis attorney Deborah Daniels which

studied the underlying causes of the sexual abuse and made recommendations for preventing

future instances. Likewise, the United States Olympic Committee also commissioned an inquiry

by the law firm of Ropes and Gray which was made public in December of 2018 and which

details the factors that allowed Nassar to abuse the young athletes who were part of the

gymnastics community.

       7.      These three reports demonstrate that there are a number of athletes who may

assert claims against USAG as part of this reorganization process.

                                   THE BAR DATE MOTION

       8.      USAG has correctly stated that a bar date for the filing of claims against the

Debtor is an important step in the bankruptcy process. The Attorney General also acknowledges

that the claims filed by general creditors will be fundamentally different than those filed by

abuse survivors. As a result, the claim form for survivors may and should look different than the

claims filed by USAG’s vendors.




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          9.    The Attorney General’s primary concern is that the length of the form and some

of the questions may deter survivors from filing claims and having their opportunity to validate

their claims. A consensual creditor such as a contract vendor will file a 4 page form which is

personalized and attach unpaid invoices. A survivor is an involuntary creditor who will have to

answer multiple pages of questions about an intensely painful subject. Asking about additional

abuse and employment history are questions for the discovery process and should not be a

condition to participating in the bankruptcy case itself.

          10.   The Attorney General has reviewed the objection filed by the Additional Tort

Claimants Committee of Sexual Abuse Survivors (the “Committee”) and believes that the

objection is well taken. The Committee’s proposed form is a reasonably sized form which

provides necessary information to USAG without unduly burdening a claimant.

          11.   The Attorney General also wishes to be added to the list of parties who will have

access to the claims when filed. The review of these claims constitutes a valid exercise of the

state’s police powers and is necessary in order for the Attorney General to fulfill his statutory

duties. The Attorney General is willing to execute the desire confidentiality form as part of his

review.

          12.   The Attorney General has communicated these concerns to counsel for USAG

and counsel for the Committee. All parties are continuing to discuss these issues; however, the

Attorney General is filing this limited objection due to the approaching deadline.

                                          CONCLUSION

          WHEREFORE, Attorney General Curtis T. Hill, Jr. respectfully objects to Bar Date

Motion for the reasons stated, requests that the Court approve the form suggested by the

Committee and asks that the Court grant the parties all other relief just and proper.




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Dated: February 18, 2019                      Respectfully submitted,

                                              /s/ Martha R. Lehman
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                                              Counsel for Curtis T. Hill, Jr.,
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 18th day of February, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing to all parties who have filed an appearance. Copies of this pleading may be accessed
through the Court’s electronic filing system.


                                                      /s/ Martha R. Lehman
                                                      Martha R. Lehman




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